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 1     BARRY ROSEN
2      136 S. Clark Dr. #5
       Los Angeles, CA 90048
3
       Tel:(323)653-2043
4
       In Pro Per
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6
                             UNITED STATES DISTRICT COURT

 s                         CENTRAL DISTRICT OF CALIFORNIA
9
                    BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
io     Individually and as a Private Attorney
ii     General
                    Petitioner and Plaintiff,      DECLARATION OF
is                                                 PETITIONER/PLAINTIFF BARRY
13 I                      VS.                      ROSEN IN SUPPORT OF
                                                   APPLICATION FOR ENTRY OF
14
     UNITED STATES GOVERNMENT,                     DEFAULT AGAINST:
l5 FEDERAL AVIATION                                RESPONDANT/DEFENDANT CITY
     ADMINISTRATION, AND CITY OF                   OF SANTA MONICA
16
     SANTA MONICA,
i~               Respondents and
~~:~ Defendants.
r~~
Zo
ai
       I Barry Rosen declare as follows:
22
          1. I am the Plaintiff in this action. If called as a witness, I could and would
23
             competently testify thereto.
24
          2. Respondent/Defendant City of Santa Monica was served with the First
25
             Amended Petition/Complaint pursuant to Rule 4 ofthe Federal Rules of
26

27

28        DECLARATION OF PLAINTIFF BARRY ROSEN IN SUPPORT OF APPLICATION FOR ENTRY OF
                            DEFAULT AGAINST: CITY OF SANTA MONICA
                                              1
    Case 2:17-cv-07727-PSG-JEM Document 33 Filed 12/11/17 Page 2 of 3 Page ID #:295



1
            Civil Procedure on November 17, 2017 as evidenced by the proof of service
2
            on file with this Court.
3
         3. Under Rule 12, Respondent/Defendant City of Santa Monica was required t
4
            plead or otherwise respond to the First Amended Petition/Com~laint by
5
            December 8, 2017. The time to plead or otherwise respond to the complaint
6
            has not been extended by any agreement ofthe parties or any order of the
            Court.
s
9
         4. Respondent/Defendant City of Santa Monica has failed to serve or file a

io          pleading or otherwise respond to the First Amended Petition/Com~laint. The

ii          applicable time limit for responding to the complaint has expired.

t2       5. Respondent/Defendant City of Santa Monica is not a minor or an
13          incompetent person.
14       6. Respondent/Defendant City of Santa Monica is not currently in the military
15          service, and therefore the Servicemembers Civil Relief Act does not apply.
16       7. I have attached to this declaration a true and correct copy ofthe proofs of
i~          service on file with this Court for the above-named Defendants.
is
i9                   I declare under penalty of perjury under the laws ofthe State of
Zo
      California that the foregoing is true and correct.
21
      ~ Dated: December 11, 2017
az
23
                                                                   `.   ~7
                                                                        -~ ,,
24                                                          ~..f

25                                                         Barry Rosen
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28        DECLARATION OF PLAINTIFF BARRY ROSEN IN SUPPORT OF APPLICATION FOR ENTRY OF
                            DEFAULT AGAINST: CITY OF SANTA MONICA
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   Case 2:17-cv-07727-PSG-JEM Document 33 Filed 12/11/17 Page 3 of 3 Page ID #:296


AO 440(Rev. 06/12) Summons in a Civil Action (Pave 2)

Civil Action No. CV17-07727-PSG-JEMx

                                                          PROOF OF SERVICE
                  (T/zis section should not befiled with the coairt unless required by Fed R. Civ. P. 4(l))

          This summons for (na»,e ofindividual and title, tfany)        City of Santa Monica
was received by me on (date)                      11 /17/1 ~

          ~ I personally served the summons on the individual at (place) 1685 Main St, Santa Monica, CA 90401
                                                                                  on (dnte)           11 /17/17          ; or

          ~ I left the summons at the individual's residence oc usual place of abode with (name)
                                                                    a person of suitable age and discretion who resides there,
          on ~dat~)                              ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividttal)             Santa Monica City Clerk                                    ,who is
                                                                                                                   _______—
           designated by law to accept service of process on behalf of(r,a,ne ofo~~oaf~;~atton)

          City of Santa Monica                                                    on (dore)           11 /17/17          ; or

          ~ I returned the summons unexecuted because                                                                               ; oi-

              Other (spe~tfy~: I also served along with the summons: First Amended Complaint, Civil Cover Sheet, Notice
                               of Interested Parties, Order Transferring Civil Action, Notice of Court Directed ADR,
                               Standing Order RE Newly assigned Cases, Plaintiff's Notice of Related Cases


          My fees are $                          for travel and $                     for services, for a total of$             p


          I declare under- penalty of perjury that this information is true.



Date:            12/7/17



                                                                                              Jeronimo Feria
                                                                                        ___                ___ _
                                                                                         Printed name arsd title


                                                                           1311 N Highland Ave, Los Angeles, CA 90028


                                                                                              Server's address


Additional information regarding attempted service, etc:
